                      IN THE UNITED STATES DISTRICT COURT FOR
                           MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

 FEDERAL HOME LOAN                             )
 MORTGAGE CORPORATION,                         )
                                               )
      Plaintiff/Counter-Defendant,             )
                                               )           NO. 3:15-cv-00932
 v.                                            )
                                               )           JUDGE CAMPBELL
 WILLIAM KANTZ,                                )           MAGISTRATE JUDGE NEWBERN
                                               )
    Defendant/Counter-                         )
 Plaintiff/Third-Party Plaintiff,              )
                                               )
 v.                                            )
                                               )
 BANK OF AMERICA, N.A., and                    )
 RUBIN LUBLIN TN, PLLC,                        )
                                               )
      Third Party Defendants.                  )


                                           ORDER

       This case has been reassigned to the undersigned Judge.

       Pending before the Court is the Magistrate Judge’s Report And Recommendation (Doc.

No. 238), to which no timely objections have been filed. The Court has reviewed the Report and

Recommendation and the entire record in this case.       The Report and Recommendation is

ADOPTED and APPROVED.

       Accordingly, Rubin Lublin’s Motion to Strike or Dismiss (Doc. No. 11) and Federal

Home Loan Mortgage Corporation and Bank of America’s Motion To Dismiss Counterclaim and

to Strike Third Party Complaint (Doc. No. 34) are GRANTED.

       It is so ORDERED.

                                                   ____________________________________
                                                   WILLIAM L. CAMPBELL, JR.
                                                   UNITED STATES DISTRICT JUDGE



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